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                                #:15300




                           EXHIBIT 10
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                                    #:15301


                                                                                      888 16th Street NW
                                                                                      Suite 300
                                                                                      Washington DC 20006
July 8, 2022

VIA EMAIL

Jeffrey Kopczynski
O’Melveny & Myers LLP
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New York, NY 10036
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Counsel:

Plaintiffs write regarding DIRECTV’s privilege log produced on June 6, 2022. This letter is made pursuant to Local
Rule 37‐1 of the United States District Court for the Central District of California. Plaintiffs propose a meet and
confer on July 12, 2022, at 2:30 p.m. EST to discuss the issues outlined in this letter. If that date and time does not
work, please provide an alternative within the timeframe provided by Local Rule 37‐1.

As discussed in our correspondence and meet and confers, including in Plaintiffs’ March 22 letter to DIRECTV,
Plaintiffs maintain that DIRECTV does not provide sufficient information to carry its burden of establishing privilege
over a vast number of entries contained in its privilege log. Rather than burden the Court with a challenge to every
entry on DIRECTV’s privilege log, and to resolve our issues as expeditiously as possible in light of DIRECTV’s
numerous delays, Plaintiffs have attempted to narrow the scope of their dispute to three categories of entries,
including:

         A. Entries where the communication contains no attorney, or where the inclusion of a third party waives
            the privileges, or where there are so many individuals involved in the communication that the
            communication was not intended to be kept privileged or confidential;1
         B. Entries where DIRECTV improperly withheld non‐privileged attachments;2 and
         C. Entries where DIRECTV has not provided sufficient information, such as the author of a document,
            document title, or adequate description, to establish its assertion privilege.3


1
 See, e.g., Federal Industries Inc. v. Cameron Technologies US Inc., 2009 WL 10670395, at *3 (C.D. Cal. Jan. 30,
2009); In re Syncor ERISA Litig., 229 F.R.D. 636, 645 (C.D. Cal. 2005); Acosta v. Target Corp., 281 F.R.D. 314, 321
(N.D. Ill. March 9, 2012) (attorney‐client privilege “does not apply to an e‐mail ‘blast’ to a group of employees
that may include an attorney, but where no request for legal advice is made and the input from the attorney is
business‐related and not primarily legal in nature.”).

2
 See United States v. City of Hesperia, 2021 WL 5034381, at *6 (C.D. Cal. June 17, 2021) (“attachments to
privileged emails are not themselves privileged simply by association.”) (citing O’Connor v. Boeing N. Am., Inc.,
185 F.R.D. 272, 280 (C.D. Cal. 1999).

3
  See, e.g., Fed. R. Civ. P. 26(b)(5) (parties much “describe the nature of the documents, communications, or
tangible things not produced or disclosed‐‐and do so in a manner that, . . . will enable other parties to assess the
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Enclosed is an excel document containing examples of the entries Plaintiffs will challenge.

Furthermore, Plaintiffs intend to challenge documents containing the following individuals:

 Daniel Fawcett                         Thomas Giltner                          Margaret Girard
 Thomas Grace                           John Gray, Jr.                          John Green
 Parkey Haggman                         Jae‐Min Han                             Christopher Heimann
 Cynthia Hennessy                       Monty Hill                              Milouska Hoppenbrouwer
 Alejandro Jimenez                      Sharon Karno                            Kurt Kridner
 Keith Krom                             A.P. Marcucci                           Charles Nalbone
 Patricia Nunez Velez                   Thomas Payne III                        Carol Payne
 Tom Rawls                              Aaron Z. Schwartz                       Pamela St. John

As discussed in our correspondence and meet and confers, DIRECTV made numerous errors in its initial privilege
log and misidentified several individuals as attorneys. DIRECTV refused to provide a satisfactory affiliation list that
included the titles of the individuals contained in its privilege log; nor would DIRECTV provide an affiliation list
containing the titles of the supposed attorneys DIRECTV purport give rise to their claims of privilege. Setting aside
the obvious fact that DIRECTV should have this information readily available, DIRECTV offered instead to answer
Plaintiffs’ questions about specific job titles of individuals on an ad hoc basis. Plaintiffs reached out on May 27 to
inquire about the titles of the above‐referenced individuals and never received a response from DIRECTV. Plaintiffs
presume that the above individuals are not attorneys and will lodge its challenges accordingly.

For the avoidance of doubt, the issues raised in this letter should not be construed to waive Plaintiffs’ rights to
challenge any entry, on any ground, found in DIRECTV’s privilege log. Plaintiffs also reserve the right to argue that
DIRECTV has waived attorney‐client privilege because of its inadequate responses and the numerous deficiencies
contained throughout its privilege log.

                                                                            Sincerely,
                                                                            /s/ Farhad Mirzadeh
                                                                            Farhad Mirzadeh




claim.”) (emphasis added); see also Perez v. DirecTV Group Holdings, LLC, 2020 WL 10818049, at *2 (C.D. Cal. July
23, 2020).

                                                          2
